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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION

MRP PROPERTIES COMPANY, LLC, et al.,

       Plaintiffs,
v.                                                           Case No: 17-cv-11174-BC
                                                             Honorable Thomas L. Ludington
UNITED STATES OF AMERICA,

      Defendant.
____________________________________/

        ORDER TO SUBMIT MATERIAL FOR CASE MANAGEMENT ORDER

YOU ARE NOTIFIED TO SUBMIT BY: September 6, 2018 and serve on opposing
counsel and the Judge=s chambers, a short statement (DOUBLE SPACED) which shall be
submitted through CM/ECF, Utilities, Proposed Orders, and include:

          A summary of the background of the action and the principal factual and legal issues;

          An outline of the proposed discovery;

          A description of any outstanding or anticipated discovery disputes, and the basis you
           have for any objection;

          Disclosures of insurance available to satisfy part or all of a judgment, including
           indemnification agreements; and

          A proposal of an appropriate management plan, including a schedule setting discovery
           cut-off and trial dates.

A Case Management and Scheduling Order will be issued in response to your short statements by
the Court without an initial scheduling conference unless counsel requests same by motion
because of the unique circumstances of their case.

If counsel have met pursuant to Fed. R. Civ. P. 26(f), your proposed discovery plan may be filed
in lieu of these statements, supplemented as necessary to provide the above information.


       The parties are directed to include the following information:

               A.     The issues and narrowing the issues;

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              B.     Subject matter jurisdiction;

              C.     Relationship to other cases;

              D.     Necessity of amendments to pleadings, additional parties, third-party
                     complaints, etc.;

              E.     Settlement, including alternative dispute resolution;

              F.     Progress of discovery;

              G.     Issues which may appropriately be resolved by motion; and

              H.     Estimated trial length.

       Counsel are directed to discuss with their clients facilitative mediation and case
evaluation (formerly Amediation@) and the prospect of obtaining authority to stipulate to be
bound by the provisions of Mich. Ct. R. 2.403, including the section dealing with sanctions.


                                                                   s/Thomas L. Ludington
                                                                   THOMAS L. LUDINGTON
                                                                   United States District Judge

Dated: August 22, 2018



                                                  PROOF OF SERVICE

                         The undersigned certifies that a copy of the foregoing order was served
                         upon each attorney or party of record herein by electronic means or first
                         class U.S. mail on August 22, 2018.

                                                           s/Kelly Winslow
                                                           KELLY WINSLOW, Case Manager




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